                Case 17-40539-KKS         Doc 73     Filed 08/20/18      Page 1 of 2



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF FLORIDA
                                TALLAHASSEE DIVISION

In re: HAROLD UZZELL and                                      Case No.: 17-40539-KKS
       ERICA C. UZZELL                                        Chapter: 7

                        Debtors(s)

 ORDER GRANTING SECURED CREDITOR, AVAIL 1 LLC’S RENEWED/REVISED
     IN REM MOTION FOR RELIEF FROM AUTOMATIC STAY (DOC. 68)

        This case is before the Court upon the Renewed/Revised In Rem Motion for Relief from

Stay (DOC. 68) filed by Creditor, AVAIL 1 LLC (“Movant”). No party filed an objection within

the prescribed time period, so the Court considers the matter unopposed. It is

DONE AND ORDERED:

    1. The Renewed/Revised In Rem Motion for Relief from Automatic Stay is GRANTED.

    2. The automatic stay imposed by 11 U.S.C. § 362 is vacated as to the Movant’s enforcement

of its mortgage on or security interest in the following property:

         LOT 7, BLOCK K, OX BOTTOM MANOR UNIT II, PHASE I,
         ACCORDING TO THE PLAT THEREOF, AS RECORDED IN PLAT
         BOOK 10, PAGE(S) 53, OF THE PUBLIC RECORDS OF LEON
         COUNTY, FLORIDA.

       a/k/a 6248 Hines Hill Circle, Tallahassee, Florida 32312

    3. This order is entered for the sole purpose of allowing the Movant to obtain in rem relief

against the property and Movant shall not seek in personam relief against the Debtors.

    4. The Trustee retains the Estate’s interest in the property. Movant shall notify the Trustee

should there be any surplus funds from the foreclosure sale, or incentive funds in lieu of foreclosure

or as a result of a short sale.

    5. The Movant made sufficient allegations and a request in the Motion for Relief from Stay

to waive the 14-day stay requirement of Bankruptcy Rule 4001(a)(3). No objection being raised,
               Case 17-40539-KKS         Doc 73    Filed 08/20/18      Page 2 of 2



the automatic stay shall be lifted immediately upon execution of this order.

   6. This Court makes no determination that the Debtors have defaulted on the underlying

obligation.

   7. If the Debtors convert this case to another chapter, then the relief granted herein will

survive any such conversion.

       DONE AND ORDERED              August 20, 2018                           .




                                             Karen K. Specie
                                             U.S. Bankruptcy Judge

                                              ###
Submitted/Prepared by:
Denise M. Blackwell-Pineda, Esq.
Attorney for Movant
Ritter, Zaretsky, Lieber & Jaime, LLP
2915 Biscayne Boulevard, Suite 300
Miami, Florida 33137
Phone: 305-372-0933
Denise@rzllaw.com
Fla. Bar. No. 751421


Denise M. Blackwell-Pineda, Esq. is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.
